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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
IN RE EX PARTE APPLICATION OF                                  :
TIBERIUS GROUP AG FOR AN ORDER TO                              :
OBTAIN DISCOVERY FOR USE IN A                                  : Misc. Action No. ___________
FOREIGN PROCEEDING                                             :
                                                               :
-------------------------------------------------------------- X


               DECLARATION OF MICHAEL MEREDITH IN SUPPORT OF
           AN EX PARTE APPLICATION FOR AN ORDER UNDER 28 U.S.C. § 1782

Pursuant to 28 U.S.C. § 1746, Michael Meredith declares:

      1.         I am a British citizen residing in Zug, Switzerland.

      2.         I am a director and shareholder of Tiberius Group AG, and in that capacity am

familiar with the facts and circumstances underlying this Application.

      3.         As set forth below, I have personal knowledge of the following facts, except as to

those facts alleged on information and belief, and as to those facts I am informed and believe they

are true.

Relevant Parties

      4.         Applicant Tiberius Group AG (“Tiberius”) is an asset management and non-ferrous

metal trading company based in Zug, Switzerland. Tiberius physically trades in various products

of tin, aluminum, lead and zinc

      5.         Tiberius is engaged in the purchase and sale of tin concentrates in Nigeria. In

connection with these activities, on 24th August 2016 Tiberius created a subsidiary called West

African Mineral Trading Ltd. (“WAMT”), based in Jos, Nigeria, for the exporting of tin

concentrates.
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      6.        All of Tiberius’ physical trading activities in Nigeria are conducted in US Dollars,

with international funds transfers necessarily passing through correspondent banks in the United

States.

      7.        Michel Babic is a Croatian citizen residing in Lagos, Nigeria. From 24th August

2016 until 20th May 2019, Michel Babic was a director of WAMT.

      8.        Murtala Laushi is a Nigerian citizen residing in Jos, Nigeria. Until 21st January

2019, Laushi was a director of WAMT.

      9.        Malcomines Ltd. is a Nigerian company engaged in the procurement of tin

concentrates and other minerals in the Plateau state of Nigeria. Laushi was a director and sole

shareholder of Malcomines until August 2019, at which time Babic became a 50% owner.

      10.       Malcomines GmbH is a Swiss entity in which Babic and Laushi are equal

shareholders. Malcomines GmbH currently owns 100% of Malcomines Ltd.

      11.       Laushi is also the owner of a Nigerian company entity called S&M Pan African

Mines & Logistics Ltd. which was involved in Malcomines’ activities on behalf of Tiberius.

Summary of this Application

      12.       As set forth in detail below, Tiberius, through its subsidiary WAMT, advanced in

2019 US$34,445,000.00 in prepayments to Malcomines Ltd. for the purchase of tin concentrates

from Nigeria. The funds advanced including prepayment for 113 shipments of tin concentrate

valued at US$30,095,120.87, as well as excess funding in the amount of US$4,349,879.13.

Malcomines has failed to deliver the shipments purchased and has failed, despite demand, to return

the excess funds advanced. Tiberius has reason to believe that Malcomines Ltd. has simply

absconded with the excess funding, and has sold, or in in the process of selling, the undelivered

balance of tin concentrate, and intends to use the outstanding prepayment balance and proceeds




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from the sale of the undelivered tin concentrate to capitalize its new Swiss affiliate, Malcomines

GmbH.

     13.       Tiberius has commenced legal proceedings in the High Court of Lagos State

Nigeria to enforce its rights and collect amounts owed to it by Malcomines Ltd. This Application

seeks information from US banks believed to have operated as correspondent or clearing banks in

connection with relevant transactions in US dollars.

The Tiberius-Malcomines Ltd. Relationship

     14.       Tiberius, through WAMT, entered into a business relationship with Malcomines

Ltd., a Nigerian company, in January 2018 (and via a former subsidiary since 2016), pursuant to

which Malcomines Ltd. would source tin concentrates, procure them from Nigerian sellers in its

name, pack the tin concentrates for transport, sell them to Tiberius and transport them to Lagos,

Nigeria for export by WAMT on the behalf of Tiberius.

     15.       Tiberius, in turn, entered into contracts for sale of the tin concentrates to third

parties, including Gerald Metals.

     16.       The relationship and business were introduced to Tiberius by Michel Babic and the

relationship with Laushi has always been handled by Babic.

     17.       To finance its activities pursuant to the agreement with Tiberius, Malcomines Ltd.

required pre-financing for each cargo shipment to be sold and shipped to Tiberius. WAMT

provided that pre-financing.

     18.       WAMT would issue requests for pre-financing to Tiberius in the form of

Prepayment Invoices for cargo ordered from Malcomines Ltd., which Tiberius would pay to

WAMT. WAMT, in turn, would make payment to Malcomines.




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Malcomines’ Diversion of Tiberius Funds

      19.      During 2019, Tiberius paid a total of US$34,445,000.00 based on Prepayment

Invoices issued by WAMT for 113 containers of tin concentrates to be supplied by Malcomines

Ltd. to Tiberius.

      20.      In support of the Prepayment Invoices, Malcomines Ltd. issued packing list and

waybills to Tiberius to document its purchase of tin concentrates for Tiberius, as well as its

packaging and shipment of such cargo to Lagos for subsequent export by Tiberius.

      21.      Tiberius has received only 97 containers of the 113 containers for which it advanced

funds to Malcomines Ltd. through WAMT in 2019. The remaining 16 containers have not been

received.

      22.      The actual value of the 113 containers of tin concentrate is approximately

US$30,095,120.87. The amount paid by Tiberius to Malcomines Ltd. exceeds the actual value of

the 113 containers by US$4,349,879.13.

      23.      The understanding of the parties was that the excess funds advanced by Tiberius to

Malcomines Ltd. would be used for future purchases of tin concentrates by Malcomines Ltd. on

behalf of Tiberius, or, if additional cargoes of tin concentrates were not available, the excess would

be refunded to Tiberius.

      24.      On 2nd August 2019, Tiberius and Malcomines Ltd via WAMT. agreed that

exposure limits had been reached, and Tiberius therefore requested that the exposure on

Malcomines Ltd. be reduced either by Malcomines Ltd. delivering additional shipments of tin

concentrates to Tiberius or its returning the relevant funds. Tiberius confirmed to Malcomines Ltd.

that no more additional funds would be advanced until the exposure had been reduced.




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      25.      On 5th August 2019, Malcomines Ltd. informed Tiberius, through WAMT, that it

did not have the excess US$4,349,879.13 advanced by Tiberius with which to purchase additional

tin concentrates, and that it was not in possession of any containers of tin concentrates to supply

to Tiberius.

      26.      Contrary to Malcomines Ltd.’s representation, Tiberius learned on 30th August

2019 that Malcomines had advised a third party that it was in possession of four containers of tin

concentrates available for shipment on 13th September 2019.

      27.      The four containers being prepared for export by Malcomines Ltd. as referenced

above are being handled/processed using the unique methods designed by Tiberius and WAMT,

including the fact that the number sequence of these containers continues the sequence of the

shipments last delivered to Tiberius in Lagos and the fact that the same shipping logistics

infrastructure was being used, Full Bliss Logistics Ltd., as the local forwarder to move the material

to be loaded on a vessel and to custom clear the material.

      28.      Based on the above, I believe that the four containers of tin concentrates and

additional material that Malcomines Ltd. is offering to new overseas buyers was purchased by

Malcomines Ltd. with the excess US$4,349,879.13 advanced by Tiberius. Pursuant to the parties’

agreement and course of dealing, these containers should have been delivered to Tiberius, but were

wrongfully appropriated and diverted by Malcomines Ltd.

Proceedings in the High Court of Lagos State, Nigeria

      29.      Based upon the foregoing, Tiberius and WAMT commenced proceedings against

Malcomines in the High Court of Lagos State, Nigeria (the “Nigeria Proceedings”). Tiberius is

seeking delivery of tin concentrates for which it has paid Malcomines Ltd., with a value in excess




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of US$4 million, and for the excess payment by Tiberius to be paid back in the form of cash or

assets.

      30.      In connection with the Nigeria Proceedings, on 10th September, 2019 Tiberius filed

an Ex Parte Motion for a Mareva Injunction restraining Malcomines and others acting in concert

directly or indirectly, from dissipating or disposing, moving or removing from Nigeria any assets

within the jurisdiction of the Court, freezing and/or attaching the bank accounts maintained by

Malcomines at any of eighteen banks listed in the application and restraining such banks from

releasing any funds or negotiable instruments for the credit of Malcomines Ltd or otherwise

making transfers or payments of any money maintained in accounts by Malcomines Ltd. or its

agents, privies, subsidiaries or related companies with such banks. True and correct copies of

Motion on Notice submitted on behalf of Tiberius to the Nigerian Court, together with my sworn

Declaration in Support (without the voluminous Exhibits thereto) are annexed hereto as Exhibit 1.

      31.      Following a hearing before the High Court of Lagos State, an Order of Mareva

Injunction was issued on September 10, 2019. A true and correct copy of the Order issued is

attached hereto as Exhibit 2.

      32.      The scheduled hearing for the extension of the Mareva Injunction is due to be heard

on 21st October 2019, with further dates being set for the litigation against Malcomines at that

time. If the injunction is upheld and extended, Malcomines Ltd.’s assets and bank accounts will

continue to be frozen. If the injunction is lifted, Tiberius will proceed with an action to recover

the funds and material owed to it by Malcomines Ltd.

      33.      Since the issuance of the Mareva Injunction, additional evidence has come to light

indicating that Malcomines has continued in full operation since its representation on 5th August




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2019 that it was not in possession of additional shipments of tin concentrates with which to satisfy

its obligation to Tiberius.

      34.       Specifically, Tiberius has learned that additional shipments of tin concentrates and

material has been delivered by Malcomines Ltd. to third parties via port Lagos and Port Harcourt,

tin concentrates and minerals are currently being held at Bollore warehouse in Lagos due to the

Mareva Injunction.

      35.       Upon information and belief, material is still being offered by Malcomines Ltd. to

offer counterparties as recently as 10th October, despite the fact that Malcomines Ltd. is prohibited

from doing so by the Mareva Injunction. Tiberius believes it is possible that Babic, Laushi and/or

Malcomines Ltd. may be conducting business through related entities in Nigeria owned or

controlled by them, including S&M Pan African Mines & Logistics Ltd., in an attempt to avoid

the Mareva Injunction.

Involvement of Michel Babic and Murtala Laushi

      36.       As noted above, during the relevant time period in 2019, Babic was a director of

WAMT. Babic had also been an employee of Tiberius since January 2018. In his WAMT

capacity, Babic submitted Prefinancing Invoices to Tiberius for tin concentrates to be sourced by

Malcomines Ltd and helped with the logistics and operations of the tin concentrates business.

During his tenure, he had the authority to initiate payments, including wire transfers, from WAMT

to Malcomines Ltd. and others.

      37.       Michel Babic has taken steps to frustrate Tiberius in taking control of WAMT and

its bank accounts in Nigeria after Tiberius terminated his appointment as director of WAMT and

an employee of Tiberius. Babic represented to Tiberius that on 6th August 2019, the WAMT bank

accounts had been closed and statements could no longer be provided. Babic has purposefully




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allowed the official corporate records in Nigeria not to be updated with the directorship changes

reflecting his removal. Babic will not comply with lodging appropriate documents to the relevant

authorities in Nigeria to allow the update of the directors of the company. The second of the two

WAMT directors required under Nigerian law is employed by a law firm with which Babic has a

relationship. This director has also not cooperated with Tiberius’ attempt to update the Nigerian

corporate records.

      38.      Tiberius has learned that the Swiss entity created and jointly owned by Babic and

Laushi, Malcomines GmbH, acquired all the shares of Malcomines Ltd. on 28th August 2019,

resulting in a valuation/capital increase of Malcomines GmbH of approximately US$4 million.

See, Exhibit 3. This suggests that this amount would have been on account for Malcomines Ltd.

at that time. This capital infusion occurred within weeks of Malcomines Ltd. informing Tiberius

that it was no longer in possession of the US$4,349,879.13 excess funding provided by Tiberius,

or of additional shipments of tin concentrates to satisfy its obligation to Tiberius.

      39.      In my experience and dealing with Malcomines, it is also common for Malcomines

Ltd. to have in its possession or control shipments of tin concentrates or other minerals in advance

of purchase of such material by Tiberius or others. Malcomines Ltd. purchase of such materials

has often been funded by excess funds advanced by Tiberius.

      40.      Tiberius has reason to believe that the excess funds advanced by Tiberius, or the

outstanding shipments of tin concentrates paid for by Tiberius but not delivered by Malcomines

Ltd., are being or will used by Babic and Laushi to provide equity or financing support for their

new company Malcomines GmbH.

      41.      Through this Application, Tiberius seeks information regarding US dollar

transactions instituted by Babic through WAMT in his capacity as a director, as well as US dollar




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